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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF REPRESENTATIVES,
1102 Longworth House Office Building
Washington, D.C. 20515,

                            Plaintiff,

           v.                                         Case No. 1:19-cv-1974

UNITED STATES DEPARTMENT OF
THE TREASURY,
1500 Pennsylvania Avenue N.W.
Washington, D.C. 20220, et al.,

                             Defendants.




                           Exhibit M
5/30/2019             CaseNeal
                           1:19-cv-01974-TNM              Document
                               Issues Subpoenas to Treasury Secretary and 1-13   Filed 07/02/19
                                                                          IRS Commissioner             Page
                                                                                           | Ways and Means    2 of 2- Democrats
                                                                                                            Committee




(/)




                                               (http://twitter.com/WaysMeansCmte)                    

                            (http://www.facebook.com/waysandmeanscommitteedems) 
                                     (http://www.youtube.com/user/waysandmeansdems)




      NEAL ISSUES SUBPOENAS TO TREASURY
      SECRETARY AND IRS COMMISSIONER
      May 10, 2019 | Press Release

      WASHINGTON, DC – Today, Ways & Means Committee Chairman Richard E. Neal (D-MA) released
      the following statement after issuing subpoenas to Department of Treasury Secretary Steven
      Mnuchin
      (/sites/democrats.waysandmeans.house.gov/ les/documents/WM%20Letter%20Mnuchin%205.10.19.pdf)
      and Internal Revenue Service (IRS) Commissioner Charles Rettig
      (/sites/democrats.waysandmeans.house.gov/ les/documents/WM%20Letter%20Rettig%205.10.19.pdf)
      for six years of the President’s personal and business tax returns:

      “Last month, the Ways and Means Committee began an investigation into the mandatory audit
      program at the IRS in an effort to assess the extent to which the IRS audits and enforces the federal
      tax laws against a sitting President and to determine if those audits need to be codi ed into federal
      law. As part of that inquiry, on April 3, I requested six years of the President’s personal and business
      tax returns, pursuant to my authority under section 6103(f) of the IRS Code. I believed then, as I do
      now, that reviewing the requested documents is a necessary piece of the committee’s work.

      “Unfortunately, the Treasury Department and the IRS have denied my reasonable request. Despite
      the agency’s denial, we on the Ways and Means Committee are still moving forward with our
      inquiry. After reviewing the options available to me, and upon the advice of counsel, I
      issued subpoenas today to the Secretary of the Treasury and the Commissioner of the IRS for six
      years of personal and business returns. While I do not take this step lightly, I believe this action
      gives us the best opportunity to succeed and obtain the requested material. I sincerely hope that
      the Treasury Department will furnish the requested material in the next week so the committee
      can quickly begin its work.”

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https://waysandmeans.house.gov/media-center/press-releases/neal-issues-subpoenas-treasury-secretary-and-irs-commissioner           1/1
